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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


E. N. BISSO & SON, INC.                              * CIVIL ACTION

VERSUS                                               * NO. 19-cv-14765

M/V BOUCHARD GIRLS, her tackle,                      * SECTION “”D” (3)
Furniture, apparel, appurtenances, etc. in
rem, and the Barge B. NO. 295, her tackle,           * JUDGE VITTER
Furniture, apparel, appurtenances, etc. in
rem and BOUCHARD TRANSPORTATION                      * MAGISTRATE DOUGLAS
CO., INC. in personam


          EX PARTE MOTION TO WITHDRAW AS COUNSEL OF RECORD

       NOW INTO COURT, through undersigned counsel, come Robert H. Murphy and

Timothy D. DePaula and the law firm of Murphy, Rogers, Sloss, Gambel & Tompkins,

(collectively “Murphy Rogers”) to respectfully move this Honorable Court to issue an Order

permitting them to withdraw as counsel of record for Defendants, Bouchard Transportation Co.,

Inc., in personam, Tug BOUCHARD GIRLS Corp., as owner of the M/V BOUCHARD GIRLS,

in rem, making a restricted appearance pursuant to Rule E(8) of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil

Procedure, and B. No. 295 Corp., as owner of the Barge B No. 295, in rem, making a restricted

appearance pursuant to Rule E(8) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions of the Federal Rules of Civil Procedure, based upon the following:

                                                1.

       Murphy Rogers has notified the Defendants in writing on June 10, 2020 via Certified

Mail with Return Receipt and email to their representative, Morton S. Bouchard III, of their


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intention to withdraw as counsel of record for the Defendants in this litigation for reasons

Murphy Rogers maintains are consistent with the Louisiana Rules of Professional Conduct Rule

1.16(b)

                                                  2.

          The present mailing address of each of the Defendants is 58 South Service Road, Ste. 150

Melville, NY 11757 and phone number is (516) 721-7522. The email address of the corporate

representative of each defendant is MSB111@bouchardtransport.com

                                                  3.

          Murphy Rogers certifies they have complied with Local Rule 83.2.11 by providing notice

in writing of their withdrawal to Defendants and have notified them of all pending court

appearances and deadlines.

                                                  4.

          Based upon the foregoing, Murphy Rogers maintains that good cause exists for this

Honorable Court to grant this motion and allow Robert H. Murphy and Timothy D. DePaula and

the law firm of Murphy, Rogers, Sloss, Gambel & Tompkins to withdraw as counsel of record in

this litigation for the Defendants, Bouchard Transportation Co., Inc., in personam, Tug

BOUCHARD GIRLS Corp., as owner of the M/V BOUCHARD GIRLS, in rem, making a

restricted appearance pursuant to Rule E(8) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil Procedure, and B.

No. 295 Corp., as owner of the Barge B No. 295, in rem, making a restricted appearance

pursuant to Rule E(8) of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions of the Federal Rules of Civil Procedure.



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                             Respectfully submitted,

                             MURPHY, ROGERS, SLOSS,
                              GAMBEL & TOMPKINS

                             /s/ Robert H. Murphy
                             ____________________________________
                             Robert H. Murphy (#9850)
                             rmurphy@mrsnola.com
                             Timothy D. DePaula (#31699)
                             tdepaula@mrsnola.com
                             701 Poydras Street
                             Suite 400, Hancock Whitney Center
                             New Orleans, LA 70139
                             Telephone: (504) 523-0400
                             Facsimile: (504) 523-5574
                             Attorneys for Bouchard Transportation Co., Inc., in
                             personam, Tug BOUCHARD GIRLS Corp. as
                             owner of the M/V BOUCHARD GIRLS, in rem,
                             making a restricted appearance pursuant to Rule
                             E(8) of the Supplemental Rules for Admiralty or
                             Maritime Claims and Asset Forfeiture Actions of
                             the Federal Rules of Civil Procedure, and B. No.
                             295 Corp., as owner of the Barge B. No. 295, in
                             rem, making a restricted appearance pursuant to
                             Rule E(8) of the Supplemental Rules for Admiralty
                             or Maritime Claims and Asset Forfeiture Actions of
                             the Federal Rules of Civil Procedure




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                                         CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that on 11 June 2020, a copy of the foregoing pleading was sent to

all counsel of record, either by operation of the Court’s CM/ECF system, by hand, by e-mail, by

telefax or by placing same in the United States mail, properly addressed, and first class postage

prepaid.


                                                     /s/ Robert H. Murphy
                                                     _______________________________
                                                     Robert H. Murphy



4833-1534-8927,   v. 1




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